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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
 In re      Earl E. Cloud, III                                                                               Case No.   18-71768
                                                                                   Debtor(s)                 Chapter    7



                                                           AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Schedule A/B - Property
Schedule E/F - Creditors with Unsecured Claims
Schedule H - Codebtors
Schedule I - Income
Schedule J - Expenses
Summary of Assets and Liabilities
Creditor Matrix
Statement of Financial Affairs, Schedule C, Schedule D, Schedule G, Statement of Intent, and Form 122A have been amended
only for the purpose of removing the "Draft" stamp from the originally filed schedules.




                                        NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

Acuity, Attn: Debbie Sullivan, 3423 Piedmont Road NE, Atlanta, GA 30305

Southern Dairies, Attn: Kari Marschark, 621 North Ave NE, Ste. C140, Atlanta, GA 30308

Leon S. Jones, Jones & Walden, LLC 21 Eighth Street, NE, Atlanta, GA 30309

513 Capital, Attn: Scott Stidel, 3511 La Rochelle Drive, Columbus OH 43221

Fireplay, Attn: Brian Buckner, 5915 Silver Springs Bldg 6B, l Paso, TX 79912

Georgia Department of Revenue, Attn: Ronald Johnson, Jr., PO Box 105499, Atlanta, GA 30348

Henry Inc, Attn: Diane Henry, 2285 Park Central Blvd., Decatur GA 30035

Navitas Credit Corp, Attn: Charlie Butler, 111 Executive Center Dr., Suite 102, Columbia, SC 29210

TriMark Strategic Equipment, 6684 Jimmy Carter Blvd., Ste. 2 Peachtree Corners, Norcross, GA 30071

A. Christian Wilson, Simpson Uchitel & Wilson LLP, 3490 Piedmont Rd NE Ste. 1100, Atlanta, GA 30305

Seacoast National Bank, c/o Ruma Mazumdar, Fox Rothschild, LLC, 101 Park Avenue, Ste. 1700, New York, NY 10178




 Date: March 20, 2019                                                   /s/ G. Frank Nason, IV
                                                                        G. Frank Nason, IV 535160
                                                                        Attorney for Debtor(s)
                                                                        Lamberth, Cifelli, Ellis & Nason, P.A.
                                                                        1117 Perimeter Center West
                                                                        Suite N313
                                                                        Atlanta, GA 30338
                                                                        404-262-7373 Fax:404-262-9911




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 Fill in this information to identify your case:

 Debtor 1                  Earl E. Cloud, III
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                       $125,000.00           Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 1      Earl E. Cloud, III                                                                          Case number (if known)   18-71768


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                             Wages, commissions,                       $149,299.00           Wages, commissions,
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                       $152,307.00           Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       East Andrews Realty, LLC vs. Earl                        Contract                    State Court of Fulton                      Pending
       E. Cloud, III, Michael Blydenstein,                                                  County, Georgia                            On appeal
       Julian Goglia, Paladin Hospitality                                                   185 Central Ave SW
                                                                                                                                       Concluded
       Group, LLC, Southeastern                                                             Atlanta, GA 30303
       Hospitality, LLC
       18EV002617

       Amur Equipment Finance, Inc. v.                          Contract                    State Court of Dekalb                      Pending
       Spagett, LLC d/b/a Bar Americano,                                                    County, Georgia                            On appeal
       Earl E. Clouid, III, Mike Jay                                                        556 N McDonough St #300
                                                                                                                                       Concluded
       Blydenstein, Julian Kristopher                                                       Decatur, GA 30030
       Goglia, Paladin Hospitality Group,
       LLC, and Southeastern Hospitality,
       LLC
       18A71106

       Pawnee Leasing Corporation,                              Contract                    State Court of Dekalb                      Pending
       assignee of Alliance Funding                                                         County, Georgia                            On appeal
       Group vs. Spagett, LLC d/b/a Bar                                                     556 N McDonough St #300
                                                                                                                                       Concluded
       Americano, Earl E. Cloud, III, Julian                                                Decatur, GA 30030
       K. Goglia, Michael Blydenstein,
       and Paladin Hospitality Group, LLC
       18A71103-1

       GFRS Equipment Leasing Fund II,                          Contract                    Maricopa Superior Court                    Pending
       LLC v. Spagett, LLC, Earl Cloud,                                                     101 W. Jefferson St.                       On appeal
       Julian Goglia, and Mike                                                              Phoenix, AZ 85003
                                                                                                                                       Concluded
       Blydenstein
       CV2018-014211




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       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       World Global Capital, LLC v. Earl E.                     Confession of               Putnam County Supreme                       Pending
       Cloud, III, Paladin Hospitality                          Judgment                    Court, NY                                   On appeal
       Group, LLC, Southeastern                                                                                                         Concluded
       Hospitality, LLC, Spagett, LLC, The
       Mercury, and The Pinewood                                                                                                     Judgment 6/2018


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       *                                                        Bank of America account                                       June 4,                     $11,332.60
                                                                                                                              2018-October
                                                                     Property was repossessed.                                26, 2018
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Lamberth, Cifelli, Ellis,                                                                                              12/19/2018                  $3,000.00
       & Nason, P.A.
       1117 Perimeter Center West
       Suite N313
       Atlanta, GA 30338
       Michael J. Blydenstein


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made




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 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of               Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number                 instrument                   closed, sold,            before closing or
       Code)                                                                                                                moved, or                         transfer
                                                                                                                            transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                 have it?
                                                                      State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                         have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




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25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                   Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Spagett, LLC dba Bar Americano                           Restaurant                                            EIN:       81-424-1843
       24 Leslie Street NW
       Atlanta, GA 30307                                        Drew Smith                                            From-To    11/2017-4/2018

       Southeastern Hospitality, LLC                            Restaurant                                            EIN:       XX-XXXXXXX
       675 Ponce de Leon Ave
       Suite 215                                                Drew Smith                                            From-To    through present
       Atlanta, GA 30308

       Paladin Hospitality, LLC                                 Restaurant                                            EIN:       XX-XXXXXXX
       254 W Ponce de Leon Avenue
       Decatur, GA 30030                                        Drew Smith                                            From-To    through present

       10 Apart, LLC                                            Accommodation and Food                                EIN:       XX-XXXXXXX
       24 Leslie Street                                         Service
       Atlanta, GA 30307                                                                                              From-To    2017 through present
                                                                Drew Smith

       Next Wavv Consulting, LLC                                Consulting                                            EIN:       XX-XXXXXXX
       24 Leslie Street, NE
       Atlanta, GA 30307                                                                                              From-To    2013 through present




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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Global Financial and Leasing S
       6263 N Scottsdale Ste 222
       Scottsdale, AZ 85250

       Amur Equipment Finance Inc
       c/o Rachelson & White
       3350 Riverwood Pkwy Ste 2110
       Atlanta, GA 30339

       Alliance Funding Group
       3745 W. Chapman Ave Ste 200
       Orange, CA 92868

       East Andrews Realty LLC
       Glenridge Highlands One Ste800
       555 Glenridge Connnector
       Atlanta, GA 30342




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 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 Earl E. Cloud, III                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date     March 18, 2019                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case and this filing:

 Debtor 1                    Earl E. Cloud, III
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number            18-71768                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        24 Leslie Street NE                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Atlanta                           GA        30307-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $350,000.00                $350,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Fulton                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1         Earl E. Cloud, III                                                                                            Case number (if known)          18-71768

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        208 Buchannan Terrace                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Decatur                           GA        30030-0000                        Land                                            entire property?              portion you own?
        City                              State              ZIP Code                 Investment property                                    $375,000.00                     $375,000.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only
        DeKalb                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                                $725,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Audi                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        A6                                                 Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2017                                               Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                       25,000                Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another


                                                                           Check if this is community property                                 $45,000.00                     $45,000.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                               $45,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                                Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.



Official Form 106A/B                                                             Schedule A/B: Property                                                                                page 2
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 Debtor 1       Earl E. Cloud, III                                                                  Case number (if known)     18-71768
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Furniture                                                                                          $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV, Computer                                                                                                 $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Standard Clothing                                                                                              $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Wedding Ring                                                                                                 $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $8,000.00



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
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 Debtor 1         Earl E. Cloud, III                                                                                          Case number (if known)   18-71768

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                    $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Private Bank of Decatur                                              $2,000.00



                                              17.2.       Checkingq                               Bank of America                                                          $10.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

                                                  Spagett, LLC (in Chapter 7)                                                        51          %                           $0.00


                                                  Southeastern Hospitality, LLC (in Chapter 11)                                      60          %                     Unknown


                                                  Palidan Hospitality, LLC (in Chapter 11)                                          100          %                     Unknown


                                                  10 Apart, LLC                                                                     100          %                     Unknown


                                                  Next Wavv Consulting, LLC                                                     33 and 1/3       %                     Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:
Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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 Debtor 1         Earl E. Cloud, III                                                                          Case number (if known)      18-71768

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                       Money Loaned to Deep End, LLC, 24 Leslie Drive NE, Atlanta
                                                       GA 30307                                                                                         $38,372.20


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                             value:




Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 5
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 Debtor 1         Earl E. Cloud, III                                                                                                    Case number (if known)   18-71768
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                 $40,582.20


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $725,000.00
 56. Part 2: Total vehicles, line 5                                                                           $45,000.00
 57. Part 3: Total personal and household items, line 15                                                       $8,000.00
 58. Part 4: Total financial assets, line 36                                                                  $40,582.20
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $93,582.20              Copy personal property total              $93,582.20

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $818,582.20

Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 6
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 Fill in this information to identify your case:

 Debtor 1                Earl E. Cloud, III
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      24 Leslie Street NE Atlanta, GA 30307                          $350,000.00                                      $0.00    O.C.G.A. § 44-13-100(a)(1)
      Fulton County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      208 Buchannan Terrace Decatur, GA                              $375,000.00                               $21,500.00      O.C.G.A. § 44-13-100(a)(1)
      30030 DeKalb County
      Line from Schedule A/B: 1.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2017 Audi A6 25,000 miles                                       $45,000.00                                 $5,000.00     O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Furniture                                              $5,000.00                                 $5,000.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      TV, Computer                                                     $1,000.00                                      $0.00    O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Earl E. Cloud, III                                                                          Case number (if known)     18-71768
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Standard Clothing                                                   $500.00                                      $0.00       O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding Ring                                                      $1,500.00                                   $500.00        O.C.G.A. § 44-13-100(a)(5)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $200.00                                   $200.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Private Bank of Decatur                                 $2,000.00                                 $2,000.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checkingq: Bank of America                                           $10.00                                    $10.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Spagett, LLC (in Chapter 7)                                            $0.00                                     $0.00       O.C.G.A. § 44-13-100(a)(6)
     51 % ownership
     Line from Schedule A/B: 19.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Southeastern Hospitality, LLC (in                                 Unknown                                        $0.00       O.C.G.A. § 44-13-100(a)(6)
     Chapter 11)
     60 % ownership                                                                        100% of fair market value, up to
     Line from Schedule A/B: 19.2                                                          any applicable statutory limit

     Palidan Hospitality, LLC (in Chapter                              Unknown                                        $0.00       O.C.G.A. § 44-13-100(a)(6)
     11)
     100 % ownership                                                                       100% of fair market value, up to
     Line from Schedule A/B: 19.3                                                          any applicable statutory limit

     10 Apart, LLC                                                     Unknown                                        $0.00       O.C.G.A. § 44-13-100(a)(6)
     100 % ownership
     Line from Schedule A/B: 19.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Next Wavv Consulting, LLC                                         Unknown                                        $0.00       O.C.G.A. § 44-13-100(a)(6)
     33 and 1/3
     Line from Schedule A/B: 19.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Earl E. Cloud, III
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     IberiaBank                               Describe the property that secures the claim:                 $53,887.00              $350,000.00           $16,154.94
         Creditor's Name
                                                  24 Leslie Street NE Atlanta, GA
                                                  30307 Fulton County
                                                  As of the date you file, the claim is: Check all that
         PO Box 12440                             apply.
         New Iberia, LA 70562                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
     community debt

 Date debt was incurred                                    Last 4 digits of account number        6903

 2.2     Nationstar Mortgage LLC                  Describe the property that secures the claim:               $325,507.00               $375,000.00                     $0.00
         Creditor's Name
                                                  208 Buchannan Terrace Decatur, GA
                                                  30030 DeKalb County
                                                  As of the date you file, the claim is: Check all that
         350 Highland                             apply.
         Houston, TX 77067                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)
     community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Earl E. Cloud, III                                                                                Case number (if known)   18-71768
              First Name                 Middle Name                      Last Name


 2.3   VW Credit                                  Describe the property that secures the claim:                    $19,564.00            $45,000.00             $0.00
       Creditor's Name
                                                  2017 Audi A6 25,000 miles

                                                  As of the date you file, the claim is: Check all that
       2333 Waukegan Road                         apply.
       Deerfield, IL 60015                             Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred                                    Last 4 digits of account number         1032

       Wells Fargo Home
 2.4                                                                                                              $312,267.94           $350,000.00             $0.00
       Mortgage                                   Describe the property that secures the claim:
       Creditor's Name
                                                  24 Leslie Street NE Atlanta, GA
                                                  30307 Fulton County
                                                  As of the date you file, the claim is: Check all that
       PO Box 10335                               apply.
       Des Moines, IA 50306                            Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)
    community debt

 Date debt was incurred                                    Last 4 digits of account number         3712

       World Global Capital,
 2.5                                                                                                              $271,488.00             Unknown         Unknown
       LLC                                        Describe the property that secures the claim:
       Creditor's Name



       187 Wolf Road
                                                  As of the date you file, the claim is: Check all that
       Ste. 101                                   apply.
       Albany, NY 12205                                Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)

    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)   Security Agreement; Confession of Judgment
    community debt

 Date debt was incurred                                    Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $982,713.94

Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 3
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           Case 18-71768-pmb                          Doc 36          Filed 03/20/19 Entered 03/20/19 19:12:46                               Desc Main
                                                                     Document     Page 21 of 91
 Debtor 1 Earl E. Cloud, III                                                                     Case number (if known)        18-71768
              First Name                Middle Name                     Last Name


   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                       $982,713.94

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Earl E. Cloud, III
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
                                                                                                                            $104,626.6
 2.1          Georgia Dept of Revenue                                Last 4 digits of account number                                 3                    $0.00         $104,626.63
              Priority Creditor's Name
              1800 Century Center Blvd                               When was the debt incurred?
              Ste 9100
              Atlanta, GA 30345
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.1      1st Global Capital LLC                                     Last 4 digits of account number                                                          $91,185.93
          Nonpriority Creditor's Name
          1250 East Hallandale Beach Bl.                             When was the debt incurred?
          Ste 409
          Hallandale, FL 33009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2      513 Capital                                                Last 4 digits of account number                                                          $35,638.38
          Nonpriority Creditor's Name
          3511 La Rochelle Drive                                     When was the debt incurred?
          Columbus, OH 43221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3      Access to Capital for                                      Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          Entrepreneurs, Inc.                                        When was the debt incurred?
          3173 Highway 129 N
          Cleveland, GA 30528-2715
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.4      Ace Loan                                                   Last 4 digits of account number                                                          $96,562.17
          Nonpriority Creditor's Name
          3173 Hwy 129 North                                         When was the debt incurred?
          Cleveland, GA 30528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Acuity CFO, LLC                                            Last 4 digits of account number                                                            $8,325.00
          Nonpriority Creditor's Name
          3423 Piemont Road NE                                       When was the debt incurred?
          Atlanta, GA 30305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Advanced Color Imaging                                     Last 4 digits of account number                                                              $343.16
          Nonpriority Creditor's Name
          5300 Oakbrook Parkway                                      When was the debt incurred?
          Ste. 340
          Norcross, GA 30093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.7      All State Mall Services                                    Last 4 digits of account number                                                            $3,427.98
          Nonpriority Creditor's Name
          PO Box 93717                                               When was the debt incurred?
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.8      Alliance Funding Group                                     Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          3745 W. Chapman Ave                                        When was the debt incurred?
          Ste 200
          Orange, CA 92868
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      American Express                                           Last 4 digits of account number       1007                                                 $8,935.42
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.1
 0        American Express                                           Last 4 digits of account number       3005                                               $15,660.54
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 1        American Express                                           Last 4 digits of account number       5005                                               $16,949.80
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 2        American Express                                           Last 4 digits of account number       2011                                                       $0.00
          Nonpriority Creditor's Name
          PO Box 650448                                              When was the debt incurred?
          Dallas, TX 75265-0448
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 23
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 4.1
 3        Ameripride                                                 Last 4 digits of account number       1000                                                 $7,866.34
          Nonpriority Creditor's Name
          1081 Experiment Stn Rd                                     When was the debt incurred?
          Watkinsville, GA 30677
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 4        Amur Equipment Finance, Inc.                               Last 4 digits of account number                                                          $67,226.59
          Nonpriority Creditor's Name
          c/o Rachelson & White                                      When was the debt incurred?
          3350 Riverwood Pkwy Ste 2110
          Atlanta, GA 30339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawsuit on contract


 4.1
 5        Barclays Bank Delaware                                     Last 4 digits of account number       8242                                               $22,339.00
          Nonpriority Creditor's Name
          PO Box 8803                                                When was the debt incurred?
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.1
 6        BFS Capital                                                Last 4 digits of account number                                                          $91,185.93
          Nonpriority Creditor's Name
          3301 N. University Drive                                   When was the debt incurred?
          Ste. 300
          Pompano Beach, FL 33065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 7        BFS Capital                                                Last 4 digits of account number                                                          $39,454.97
          Nonpriority Creditor's Name
          3301 N. University Drive                                   When was the debt incurred?
          Ste. 300
          Pompano Beach, FL 33065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 8        Bizfund, LLC                                               Last 4 digits of account number                                                          $91,185.93
          Nonpriority Creditor's Name
          762 N. Orange Street                                       When was the debt incurred?
          Ste.762
          Wilmington, DE 19801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 7 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.1
 9        Bizfund, LLC                                               Last 4 digits of account number                                                         $133,643.96
          Nonpriority Creditor's Name
          762 N. Orange Street                                       When was the debt incurred?
          Ste.762
          Wilmington, DE 19801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 0        BMI                                                        Last 4 digits of account number       3039                                                   $343.94
          Nonpriority Creditor's Name
          PO Box 630893                                              When was the debt incurred?
          Watkinsville, GA 30677
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 1        Buckhead Beef                                              Last 4 digits of account number                                                              $567.91
          Nonpriority Creditor's Name
          4500 Wickersham Dr                                         When was the debt incurred?
          Atlanta, GA 30330
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.2
 2        Chase Card                                                 Last 4 digits of account number       5443                                               $27,828.00
          Nonpriority Creditor's Name
          PO Box 15298                                               When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card debt


 4.2
 3        Cofactor LLC                                               Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          2711 Centerville Ste 400                                   When was the debt incurred?
          Wilmington, DE 19808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 4        Corporation Service Company                                Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          801 Adlai Stevenson Dr                                     When was the debt incurred?
          Apopka, FL 32703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.2
 5        Corporation Service Company                                Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          as Representative                                          When was the debt incurred?
          PO Box 2576
          Springfield, IL 62708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 6        Credibility Capital                                        Last 4 digits of account number                                                         $133,845.71
          Nonpriority Creditor's Name
          419 Park Ave South                                         When was the debt incurred?
          8th Floor
          New York, NY 10016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 7        CTI                                                        Last 4 digits of account number                                                            $9,446.55
          Nonpriority Creditor's Name
          942 Enterprise Ste B                                       When was the debt incurred?
          Sacramento, CA 95825-1000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.2
 8        DAU Group Investments, LLC                                 Last 4 digits of account number                                                         $234,218.15
          Nonpriority Creditor's Name
          2630 Talley Street                                         When was the debt incurred?
          Unit 403
          Decatur, GA 30030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 9        East Andrews Realty, LLC                                   Last 4 digits of account number                                                         $730,877.57
          Nonpriority Creditor's Name
          Glenridge Highlands One Ste800                             When was the debt incurred?
          555 Glenridge Connector
          Atlanta, GA 30342
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawsuit on contract


 4.3
 0        Fireplay                                                   Last 4 digits of account number       1100                                                 $5,995.00
          Nonpriority Creditor's Name
          Attn: Brian Buckner                                        When was the debt incurred?
          5915 Silver Springs, Bldg 6B
          El Paso, TX 79912
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.3
 1        Fundation Group, LLC                                       Last 4 digits of account number                                                          $91,185.93
          Nonpriority Creditor's Name
          11501 Sunset Street NE                                     When was the debt incurred?
          Atlanta, GA 30307
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 2        Georgia Department of Revenue                              Last 4 digits of account number       4605                                               $58,718.78
          Nonpriority Creditor's Name
          Attn: Ronald Johnson, Jr.                                  When was the debt incurred?
          PO Box 105499
          Atlanta, GA 30348
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 3        Georgia Dept of Revenue                                    Last 4 digits of account number                                                          $38,087.66
          Nonpriority Creditor's Name
          1800 Century Center Blvd                                   When was the debt incurred?
          Ste 9100
          Atlanta, GA 30345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.3
 4        Georgia Dept of Revenue                                    Last 4 digits of account number       7393                                              $104,626.63
          Nonpriority Creditor's Name
          1800 Century Center Blvd                                   When was the debt incurred?
          Ste 9100
          Atlanta, GA 30345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 5        Georgia Power                                              Last 4 digits of account number       0025                                                 $1,728.56
          Nonpriority Creditor's Name
          241 Ralph McGill Blvd NE                                   When was the debt incurred?
          Atlanta, GA 30308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 6        Georgia Power                                              Last 4 digits of account number       6030                                                 $1,823.57
          Nonpriority Creditor's Name
          241 Ralph McGill Blvd NE                                   When was the debt incurred?
          Atlanta, GA 30308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.3
 7        Global Financial and Leasing                               Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          Services, 6263 N Scottsdale                                When was the debt incurred?
          Ste 222
          Scottsdale, AZ 85250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 8        GTR Source                                                 Last 4 digits of account number                                                         $277,800.00
          Nonpriority Creditor's Name
          111 John Street                                            When was the debt incurred?
          Ste 1210
          New York, NY 10038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 9        HAWAJE                                                     Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          S Concourse Pkwy                                           When was the debt incurred?
          Ste 1000
          Atlanta, GA 30328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.4
 0        Henry Inc.                                                 Last 4 digits of account number       9422                                                   $549.64
          Nonpriority Creditor's Name
          Attn: Diane Henry                                          When was the debt incurred?
          2285 Park Central Blvd
          Decatur, GA 30035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 1        Jamestown PCM Master Tenant LP                             Last 4 digits of account number       0642                                              $123,615.81
          Nonpriority Creditor's Name
          Ponce City Market                                          When was the debt incurred?
          675 Ponce De Leon Ave NE
          Atlanta, GA 30308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 2        Navitas Credit Corp                                        Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          One Post Office Square                                     When was the debt incurred?
          Ste. 3710
          Boston, MA 02109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.4
 3        Navitas Credit Corp                                        Last 4 digits of account number       0744                                               $74,459.66
          Nonpriority Creditor's Name
          Attn: Charlie Butler                                       When was the debt incurred?
          111 Executive Ctr Dr, Ste. 102
          Columbia, SC 29210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 4        Navitas Credit Corp                                        Last 4 digits of account number       4347                                               $18,021.96
          Nonpriority Creditor's Name
          Attn: Charlie Butler                                       When was the debt incurred?
          111 Executive Ctr Dr, Ste. 102
          Columbia, SC 29210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 5        NFS Leasing                                                Last 4 digits of account number                                                          $91,185.93
          Nonpriority Creditor's Name
          900 Commings Center                                        When was the debt incurred?
          Ste 226-U
          Beverly, MA 01915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 4.4
 6        Nordstrom TD Bank USA                                      Last 4 digits of account number                                                              $298.00
          Nonpriority Creditor's Name
          13531 E. Caley Ave.                                        When was the debt incurred?
          Englewood, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 7        On Deck Capital                                            Last 4 digits of account number                                                            $5,911.98
          Nonpriority Creditor's Name
          155 E 56th Street                                          When was the debt incurred?
          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 8        On Deck Capital                                            Last 4 digits of account number                                                         $112,958.12
          Nonpriority Creditor's Name
          155 E 56th Street                                          When was the debt incurred?
          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 17 of 23
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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.4
 9        One Point                                                  Last 4 digits of account number       2118                                                 $1,555.07
          Nonpriority Creditor's Name
          PO Box 1849                                                When was the debt incurred?
          Woodstock, GA 30188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 0        Pawnee Leasing Corp                                        Last 4 digits of account number                                                         $100,910.66
          Nonpriority Creditor's Name
          c/o Aldridge Pite Haan LLP                                 When was the debt incurred?
          PO Box 52815
          Atlanta, GA 30355-0815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lawsuit


 4.5
 1        Paycor                                                     Last 4 digits of account number       9852                                               $53,455.13
          Nonpriority Creditor's Name
          3525 Piedmont Rd NE                                        When was the debt incurred?
          5 Piedmont Ctr Ste 520
          Atlanta, GA 30305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.5
 2        Paycor                                                     Last 4 digits of account number                                                          $23,878.92
          Nonpriority Creditor's Name
          3525 Piedmont Rd NE                                        When was the debt incurred?
          5 Piedmont Ctr Ste 520
          Atlanta, GA 30305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 3        PBS Capital                                                Last 4 digits of account number                                                          $91,185.93
          Nonpriority Creditor's Name
          One Evertrust Plaza                                        When was the debt incurred?
          Ste 1401
          Jersey City, NJ 07302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 4        People's United Bank                                       Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          One Post Office Square                                     When was the debt incurred?
          Ste. 3710
          Boston, MA 02109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.5
 5        Rohrig Investments, LP                                     Last 4 digits of account number                                                          $51,519.03
          Nonpriority Creditor's Name
          340 East Paces Ferry                                       When was the debt incurred?
          Atlanta, GA 30305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 6        Sard & Leff, LLC                                           Last 4 digits of account number                                                          $23,878.92
          Nonpriority Creditor's Name
          3789 Roswell Rd NE                                         When was the debt incurred?
          Atlanta, GA 30342
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 7        Southern Dairies                                           Last 4 digits of account number                                                          $29,002.60
          Nonpriority Creditor's Name
          Attn: Kari Marschark                                       When was the debt incurred?
          621 North Avenue NE Ste C140
          Atlanta, GA 30308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




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 Debtor 1 Earl E. Cloud, III                                                                             Case number (if known)         18-71768

 4.5
 8        Technology Insurance Company                               Last 4 digits of account number       5941                                               $14,479.00
          Nonpriority Creditor's Name
          8948 Canyon Falls Blvd                                     When was the debt incurred?
          Ste 200
          Twinsburg, OH 44087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 9        Touchmark National Bank                                    Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          3651 Old Milton Pkwy                                       When was the debt incurred?
          Alpharetta, GA 30005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6
 0        Trimark Strategic Equipment                                Last 4 digits of account number                                                          $14,202.20
          Nonpriority Creditor's Name
          6684 Jimmy Carter Blvd. Ste. 2                             When was the debt incurred?
          Peachtree Corners
          Norcross, GA 30071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 21 of 23
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 4.6
 1         Vend Lease                                                Last 4 digits of account number                                                              $30,156.37
           Nonpriority Creditor's Name
           8100 Sandpiper Circle                                     When was the debt incurred?
           Ste. 300
           Nottingham, MD 21236
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 A. Christian Wilson                                           Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Simpson Uchitel & Wilson LLP                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 3490 Piedmont Rd NE Ste. 1100
 Atlanta, GA 30305
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Leon S. Jones                                                 Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Jones & Walden, LLC                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 21 Eighth Street, NE
 Atlanta, GA 30309
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 S. Nataniel De Veaux                                          Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Kitchens Kelley Gynes PC                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 5555 Glenridge Conn Ste 800
 Atlanta, GA 30342
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Seacoast National Bank                                        Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Ruma Mazumdar, Fox Rothschild                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 101 Park Ave Ste 1700
 New York, NY 10178
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                  104,626.63
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 22 of 23
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                        6e.   Total Priority. Add lines 6a through 6d.                                 6e.      $              104,626.63

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             3,308,249.99

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             3,308,249.99




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 23 of 23
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 Fill in this information to identify your case:

 Debtor 1                  Earl E. Cloud, III
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       VW Credit                                                                  Lease of Audi A6
               2333 Waukegan Road
               Deerfield, IL 60015




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Earl E. Cloud, III
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Deep End, LLC                                                                         Schedule D, line
                24 Leslie Street                                                                      Schedule E/F, line    4.2
                Atlanta, GA 30307
                                                                                                      Schedule G
                                                                                                    513 Capital



    3.2         Deep End, LLC                                                                         Schedule D, line
                24 Leslie Street                                                                      Schedule E/F, line  4.32
                Atlanta, GA 30307
                                                                                                      Schedule G
                                                                                                    Georgia Department of Revenue



    3.3         Deep End, LLC                                                                          Schedule D, line
                24 Leslie Street                                                                       Schedule E/F, line   4.30
                Atlanta, GA 30307
                                                                                                       Schedule G
                                                                                                    Fireplay




Official Form 106H                                                              Schedule H: Your Codebtors                               Page 1 of 24
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 Debtor 1 Earl E. Cloud, III                                                                 Case number (if known)   18-71768


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Deep End, LLC                                                                          Schedule D, line
             24 Leslie Street                                                                       Schedule E/F, line      4.40
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Henry Inc.



    3.5      Deep End, LLC                                                                          Schedule D, line
             24 Leslie Street                                                                       Schedule E/F, line      4.43
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Navitas Credit Corp



    3.6      Deep End, LLC                                                                          Schedule D, line
             24 Leslie Street                                                                       Schedule E/F, line      4.44
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Navitas Credit Corp



    3.7      Deep End, LLC                                                                          Schedule D, line
             24 Leslie Street                                                                       Schedule E/F, line      4.57
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Southern Dairies



    3.8      Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line   4.1
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  1st Global Capital LLC



    3.9      Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.4
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Ace Loan



    3.10     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.5
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Acuity CFO, LLC



    3.11     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.6
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Advanced Color Imaging




Official Form 106H                                                            Schedule H: Your Codebtors                              Page 2 of 24
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 Debtor 1 Earl E. Cloud, III                                                                 Case number (if known)   18-71768


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.12     Julian Goglia                                                                           Schedule D, line
             1060 Tilden Street NE                                                                   Schedule E/F, line   4.7
             Atlanta, GA 30318
                                                                                                     Schedule G
                                                                                                  All State Mall Services



    3.13     Julian Goglia                                                                           Schedule D, line
             1060 Tilden Street NE                                                                   Schedule E/F, line 4.8
             Atlanta, GA 30318
                                                                                                     Schedule G
                                                                                                  Alliance Funding Group



    3.14     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.9
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  American Express



    3.15     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.10
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  American Express



    3.16     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.11
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  American Express



    3.17     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.13
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Ameripride



    3.18     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.14
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Amur Equipment Finance, Inc.



    3.19     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.16
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  BFS Capital




Official Form 106H                                                            Schedule H: Your Codebtors                              Page 3 of 24
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                                                                                                  Check all schedules that apply:
    3.20     Julian Goglia                                                                           Schedule D, line
             1060 Tilden Street NE                                                                   Schedule E/F, line     4.18
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Bizfund, LLC



    3.21     Julian Goglia                                                                           Schedule D, line
             1060 Tilden Street NE                                                                   Schedule E/F, line     4.19
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Bizfund, LLC



    3.22     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.20
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  BMI



    3.23     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.21
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Buckhead Beef



    3.24     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.23
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Cofactor LLC



    3.25     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line  4.24
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Corporation Service Company



    3.26     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.26
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Credibility Capital



    3.27     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.27
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  CTI




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                                                                                                  Check all schedules that apply:
    3.28     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.28
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  DAU Group Investments, LLC



    3.29     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line  4.29
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  East Andrews Realty, LLC



    3.30     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.31
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Fundation Group, LLC



    3.31     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 2.1
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Georgia Dept of Revenue



    3.32     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.33
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Georgia Dept of Revenue



    3.33     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.34
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Georgia Dept of Revenue



    3.34     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.35
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Georgia Power



    3.35     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.36
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Georgia Power




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.36     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line   4.37
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Global Financial and Leasing



    3.37     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.38
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  GTR Source



    3.38     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.39
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  HAWAJE



    3.39     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.41
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Jamestown PCM Master Tenant LP



    3.40     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.42
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Navitas Credit Corp



    3.41     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.45
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  NFS Leasing



    3.42     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.47
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  On Deck Capital



    3.43     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.48
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  On Deck Capital




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.44     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.49
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  One Point



    3.45     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.50
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Pawnee Leasing Corp



    3.46     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.51
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Paycor



    3.47     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.52
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Paycor



    3.48     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.53
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  PBS Capital



    3.49     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.54
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  People's United Bank



    3.50     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line  4.55
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Rohrig Investments, LP



    3.51     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.56
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Sard & Leff, LLC




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                                                                                                  Check all schedules that apply:
    3.52     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.58
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Technology Insurance Company



    3.53     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line 4.59
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Touchmark National Bank



    3.54     Julian Goglia                                                                          Schedule D, line
             1060 Tilden Street NE                                                                  Schedule E/F, line      4.61
             Atlanta, GA 30318
                                                                                                    Schedule G
                                                                                                  Vend Lease



    3.55     Julian Goglia                                                                           Schedule D, line
             1060 Tilden Street NE                                                                   Schedule E/F, line  4.60
             Atlanta, GA 30318
                                                                                                     Schedule G
                                                                                                  Trimark Strategic Equipment



    3.56     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line   4.1
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  1st Global Capital LLC



    3.57     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.4
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Ace Loan



    3.58     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.5
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Acuity CFO, LLC



    3.59     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.6
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Advanced Color Imaging




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                                                                                                  Check all schedules that apply:
    3.60     Mike Blydenstein                                                                        Schedule D, line
             215 Mitchell Street                                                                     Schedule E/F, line   4.7
             #9
                                                                                                     Schedule G
             Atlanta, GA 30303
                                                                                                  All State Mall Services



    3.61     Mike Blydenstein                                                                        Schedule D, line
             215 Mitchell Street                                                                     Schedule E/F, line 4.8
             #9
                                                                                                     Schedule G
             Atlanta, GA 30303
                                                                                                  Alliance Funding Group



    3.62     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.9
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  American Express



    3.63     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.10
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  American Express



    3.64     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.11
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  American Express



    3.65     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.13
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Ameripride



    3.66     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.14
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Amur Equipment Finance, Inc.




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.67     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.15
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Barclays Bank Delaware



    3.68     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.16
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  BFS Capital



    3.69     Mike Blydenstein                                                                        Schedule D, line
             215 Mitchell Street                                                                     Schedule E/F, line     4.18
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Bizfund, LLC



    3.70     Mike Blydenstein                                                                        Schedule D, line
             215 Mitchell Street                                                                     Schedule E/F, line     4.19
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Bizfund, LLC



    3.71     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.20
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  BMI



    3.72     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.21
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Buckhead Beef



    3.73     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.23
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Cofactor LLC




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.74     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line  4.24
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Corporation Service Company



    3.75     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.26
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Credibility Capital



    3.76     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.27
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  CTI



    3.77     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.28
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  DAU Group Investments, LLC



    3.78     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line  4.29
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  East Andrews Realty, LLC



    3.79     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.31
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Fundation Group, LLC



    3.80     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 2.1
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Georgia Dept of Revenue




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                                                                                                  Check all schedules that apply:
    3.81     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.33
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Georgia Dept of Revenue



    3.82     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.34
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Georgia Dept of Revenue



    3.83     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.35
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Georgia Power



    3.84     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.36
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Georgia Power



    3.85     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line   4.37
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Global Financial and Leasing



    3.86     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.38
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  GTR Source



    3.87     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.39
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  HAWAJE




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                                                                                                  Check all schedules that apply:
    3.88     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.41
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Jamestown PCM Master Tenant LP



    3.89     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.42
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Navitas Credit Corp



    3.90     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.45
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  NFS Leasing



    3.91     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.47
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  On Deck Capital



    3.92     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.48
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  On Deck Capital



    3.93     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.49
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  One Point



    3.94     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.50
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Pawnee Leasing Corp




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                                                                                                  Check all schedules that apply:
    3.95     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.51
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Paycor



    3.96     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.52
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Paycor



    3.97     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line      4.53
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  PBS Capital



    3.98     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line 4.54
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  People's United Bank



    3.99     Mike Blydenstein                                                                       Schedule D, line
             215 Mitchell Street                                                                    Schedule E/F, line  4.55
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Rohrig Investments, LP



    3.10     Mike Blydenstein                                                                       Schedule D, line
    0        215 Mitchell Street                                                                    Schedule E/F, line      4.56
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Sard & Leff, LLC



    3.10     Mike Blydenstein                                                                       Schedule D, line
    1        215 Mitchell Street                                                                    Schedule E/F, line 4.58
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Technology Insurance Company




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                                                                                                  Check all schedules that apply:
    3.10     Mike Blydenstein                                                                       Schedule D, line
    2        215 Mitchell Street                                                                    Schedule E/F, line 4.59
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Touchmark National Bank



    3.10     Mike Blydenstein                                                                       Schedule D, line
    3        215 Mitchell Street                                                                    Schedule E/F, line      4.61
             #9
                                                                                                    Schedule G
             Atlanta, GA 30303
                                                                                                  Vend Lease



    3.10     Mike Blydenstein                                                                        Schedule D, line
    4        215 Mitchell Street                                                                     Schedule E/F, line  4.60
             #9
                                                                                                     Schedule G
             Atlanta, GA 30303
                                                                                                  Trimark Strategic Equipment



    3.10     Next Wavv Consulting, LLC                                                              Schedule D, line
    5        24 Leslie Street, NE                                                                   Schedule E/F, line      4.26
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Credibility Capital



    3.10     Paladin Hospitality, LLC                                                               Schedule D, line
    6        dba The Pinewood                                                                       Schedule E/F, line      4.17
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  BFS Capital



    3.10     Paladin Hospitality, LLC                                                                Schedule D, line
    7        dba The Pinewood                                                                        Schedule E/F, line     4.19
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Bizfund, LLC



    3.10     Paladin Hospitality, LLC                                                               Schedule D, line
    8        dba The Pinewood                                                                       Schedule E/F, line      4.23
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Cofactor LLC




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 Debtor 1 Earl E. Cloud, III                                                                 Case number (if known)   18-71768


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.10     Paladin Hospitality, LLC                                                               Schedule D, line
    9        dba The Pinewood                                                                       Schedule E/F, line      4.26
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Credibility Capital



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    0        dba The Pinewood                                                                       Schedule E/F, line   4.37
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Global Financial and Leasing



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    1        dba The Pinewood                                                                       Schedule E/F, line      4.38
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  GTR Source



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    2        dba The Pinewood                                                                       Schedule E/F, line      4.47
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  On Deck Capital



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    3        dba The Pinewood                                                                       Schedule E/F, line      4.48
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  On Deck Capital



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    4        dba The Pinewood                                                                       Schedule E/F, line      4.53
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  PBS Capital



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    5        dba The Pinewood                                                                       Schedule E/F, line      4.61
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Vend Lease




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    6        dba The Pinewood                                                                       Schedule E/F, line 4.33
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Georgia Dept of Revenue



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    7        dba The Pinewood                                                                       Schedule E/F, line      4.5
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Acuity CFO, LLC



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    8        dba The Pinewood                                                                       Schedule E/F, line      4.10
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  American Express



    3.11     Paladin Hospitality, LLC                                                               Schedule D, line
    9        dba The Pinewood                                                                       Schedule E/F, line      4.11
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  American Express



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    0        dba The Pinewood                                                                       Schedule E/F, line      4.13
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Ameripride



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    1        dba The Pinewood                                                                       Schedule E/F, line      4.20
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  BMI



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    2        dba The Pinewood                                                                       Schedule E/F, line  4.24
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Corporation Service Company




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                                                                                                  Check all schedules that apply:
    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    3        dba The Pinewood                                                                       Schedule E/F, line      4.36
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Georgia Power



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    4        dba The Pinewood                                                                       Schedule E/F, line      4.51
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Paycor



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    5        dba The Pinewood                                                                       Schedule E/F, line      4.52
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Paycor



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line
    6        dba The Pinewood                                                                       Schedule E/F, line  4.55
             254 W. Ponce de Leon Ave.
                                                                                                    Schedule G
             Decatur, GA 30030
                                                                                                  Rohrig Investments, LP



    3.12     Paladin Hospitality, LLC                                                               Schedule D, line   2.5
    7        dba The Pinewood                                                                       Schedule E/F, line
             254 W. Ponce de Leon Ave.
                                                                                                   Schedule G
             Decatur, GA 30030
                                                                                                  World Global Capital, LLC



    3.12     Southeastern Hospitality, LLC                                                          Schedule D, line
    8        dba The Mercury                                                                        Schedule E/F, line   4.1
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  1st Global Capital LLC



    3.12     Southeastern Hospitality, LLC                                                          Schedule D, line
    9        dba The Mercury                                                                        Schedule E/F, line      4.4
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Ace Loan




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    0        dba The Mercury                                                                        Schedule E/F, line      4.16
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  BFS Capital



    3.13     Southeastern Hospitality, LLC                                                           Schedule D, line
    1        dba The Mercury                                                                         Schedule E/F, line     4.18
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Bizfund, LLC



    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    2        dba The Mercury                                                                        Schedule E/F, line 4.28
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  DAU Group Investments, LLC



    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    3        dba The Mercury                                                                        Schedule E/F, line      4.45
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  NFS Leasing



    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    4        dba The Mercury                                                                        Schedule E/F, line      4.53
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  PBS Capital



    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    5        dba The Mercury                                                                        Schedule E/F, line 4.34
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Georgia Dept of Revenue



    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    6        dba The Mercury                                                                        Schedule E/F, line      4.5
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Acuity CFO, LLC




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.13     Southeastern Hospitality, LLC                                                          Schedule D, line
    7        dba The Mercury                                                                        Schedule E/F, line 4.6
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Advanced Color Imaging



    3.13     Southeastern Hospitality, LLC                                                           Schedule D, line
    8        dba The Mercury                                                                         Schedule E/F, line   4.7
             675 Ponce De Leon Ave, Ste 215
                                                                                                     Schedule G
             Atlanta, GA 30308
                                                                                                  All State Mall Services



    3.13     Southeastern Hospitality, LLC                                                           Schedule D, line
    9        dba The Mercury                                                                         Schedule E/F, line 4.8
             675 Ponce De Leon Ave, Ste 215
                                                                                                     Schedule G
             Atlanta, GA 30308
                                                                                                  Alliance Funding Group



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    0        dba The Mercury                                                                        Schedule E/F, line      4.9
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  American Express



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    1        dba The Mercury                                                                        Schedule E/F, line      4.13
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Ameripride



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    2        dba The Mercury                                                                        Schedule E/F, line 4.14
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Amur Equipment Finance, Inc.



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    3        dba The Mercury                                                                        Schedule E/F, line      4.21
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Buckhead Beef




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    4        dba The Mercury                                                                        Schedule E/F, line      4.27
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  CTI



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    5        dba The Mercury                                                                        Schedule E/F, line 4.31
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Fundation Group, LLC



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    6        dba The Mercury                                                                        Schedule E/F, line      4.35
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Georgia Power



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    7        dba The Mercury                                                                        Schedule E/F, line   4.37
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Global Financial and Leasing



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    8        dba The Mercury                                                                        Schedule E/F, line      4.39
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  HAWAJE



    3.14     Southeastern Hospitality, LLC                                                          Schedule D, line
    9        dba The Mercury                                                                        Schedule E/F, line 4.41
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Jamestown PCM Master Tenant LP



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    0        dba The Mercury                                                                        Schedule E/F, line      4.42
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Navitas Credit Corp




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    1        dba The Mercury                                                                        Schedule E/F, line      4.49
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  One Point



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    2        dba The Mercury                                                                        Schedule E/F, line      4.51
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Paycor



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    3        dba The Mercury                                                                        Schedule E/F, line 4.54
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  People's United Bank



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    4        dba The Mercury                                                                        Schedule E/F, line      4.56
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Sard & Leff, LLC



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    5        dba The Mercury                                                                        Schedule E/F, line 4.58
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Technology Insurance Company



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    6        dba The Mercury                                                                        Schedule E/F, line 4.59
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Touchmark National Bank



    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line   2.5
    7        dba The Mercury                                                                        Schedule E/F, line
             675 Ponce De Leon Ave, Ste 215
                                                                                                   Schedule G
             Atlanta, GA 30308
                                                                                                  World Global Capital, LLC




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.15     Southeastern Hospitality, LLC                                                          Schedule D, line
    8        dba The Mercury                                                                        Schedule E/F, line      4.26
             675 Ponce De Leon Ave, Ste 215
                                                                                                    Schedule G
             Atlanta, GA 30308
                                                                                                  Credibility Capital



    3.15     Spagett, LLC dba Bar Americano                                                         Schedule D, line
    9        24 Leslie Street NW                                                                    Schedule E/F, line   4.1
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  1st Global Capital LLC



    3.16     Spagett, LLC dba Bar Americano                                                          Schedule D, line
    0        24 Leslie Street NW                                                                     Schedule E/F, line 4.8
             Atlanta, GA 30307
                                                                                                     Schedule G
                                                                                                  Alliance Funding Group



    3.16     Spagett, LLC dba Bar Americano                                                         Schedule D, line
    1        24 Leslie Street NW                                                                    Schedule E/F, line 4.14
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Amur Equipment Finance, Inc.



    3.16     Spagett, LLC dba Bar Americano                                                         Schedule D, line
    2        24 Leslie Street NW                                                                    Schedule E/F, line 4.28
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  DAU Group Investments, LLC



    3.16     Spagett, LLC dba Bar Americano                                                         Schedule D, line
    3        24 Leslie Street NW                                                                    Schedule E/F, line  4.29
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  East Andrews Realty, LLC



    3.16     Spagett, LLC dba Bar Americano                                                         Schedule D, line
    4        24 Leslie Street NW                                                                    Schedule E/F, line   4.37
             Atlanta, GA 30307
                                                                                                    Schedule G
                                                                                                  Global Financial and Leasing



    3.16     Spagett, LLC dba Bar Americano                                                         Schedule D, line   2.5
    5        24 Leslie Street NW                                                                    Schedule E/F, line
             Atlanta, GA 30307
                                                                                                   Schedule G
                                                                                                  World Global Capital, LLC




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             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.16     Spagett, LLC dba Bar Americano                                                          Schedule D, line
    6        24 Leslie Street NW                                                                     Schedule E/F, line  4.60
             Atlanta, GA 30307
                                                                                                     Schedule G
                                                                                                  Trimark Strategic Equipment




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Fill in this information to identify your case:

Debtor 1                      Earl E. Cloud, III

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA - ATLANTA
                                              DIVISION

Case number               18-71768                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Managing Partner
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       10 Apart Hospitality, LLC

       Occupation may include student        Employer's address
                                                                   24 Leslie St NE
       or homemaker, if it applies.
                                                                   Atlanta, GA 30307

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         8,083.31        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      8,083.31               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1     Earl E. Cloud, III                                                                   Case number (if known)    18-71768


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $        8,083.31     $             N/A

5.    List all payroll deductions:
      5a.     Tax, Medicare, and Social Security deductions                                5a.        $         417.84      $               N/A
      5b.     Mandatory contributions for retirement plans                                 5b.        $           0.00      $               N/A
      5c.     Voluntary contributions for retirement plans                                 5c.        $           0.00      $               N/A
      5d.     Required repayments of retirement fund loans                                 5d.        $           0.00      $               N/A
      5e.     Insurance                                                                    5e.        $           0.00      $               N/A
      5f.     Domestic support obligations                                                 5f.        $           0.00      $               N/A
      5g.     Union dues                                                                   5g.        $           0.00      $               N/A
      5h.     Other deductions. Specify: Healthcare Savings                                5h.+       $         100.00 +    $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $             517.84      $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $            7,565.47     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                  0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                   0.00   $                 N/A
      8h. Other monthly income. Specify: Consulting                                        8h.+ $              1,000.00 + $                 N/A
              Spouse Payment on Buchanan Mortgage                                               $              2,663.97   $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            3,663.97     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              11,229.44 + $          N/A = $          11,229.44
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         11,229.44
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Earl E. Cloud, III                                                                  Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                               A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                    13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA -                                               MM / DD / YYYY
                                          ATLANTA DIVISION

Case number           18-71768
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?                 No
      Do not list Debtor 1 and                Yes.
                                                     Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                      each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                         No
      dependents names.                                                              Child                                2                    Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?                  Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                             1,697.18

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.    $                             416.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.    $                             369.93
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.    $                              83.30
      4d. Homeowner’s association or condominium dues                                                       4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                             250.00



Official Form 106J                                                     Schedule J: Your Expenses                                                             page 1
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Debtor 1     Earl E. Cloud, III                                                                        Case number (if known)      18-71768

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 175.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 100.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                900.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
10.   Personal care products and services                                                    10. $                                                  60.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 300.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  250.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  800.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                         $                                             1,500.00
      Specify: Support paid to wife; separated                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               2,663.97
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Miscellaneous                                                       21. +$                                               150.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,965.38
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,965.38
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              11,229.44
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,965.38

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 264.06

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                 Earl E. Cloud, III
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         IberiaBank                                           Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       24 Leslie Street NE Atlanta, GA                    Reaffirmation Agreement.
    property             30307 Fulton County                                Retain the property and [explain]:
    securing debt:



    Creditor's         Nationstar Mortgage LLC                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 208 Buchannan Terrace                                    Reaffirmation Agreement.
    property       Decatur, GA 30030 DeKalb                                 Retain the property and [explain]:
    securing debt: County



    Creditor's         VW Credit                                            Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2017 Audi A6 25,000 miles                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Earl E. Cloud, III                                                                     Case number (if known)    18-71768

     securing debt:



     Creditor's    Wells Fargo Home Mortgage                                Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     24 Leslie Street NE Atlanta, GA                     Reaffirmation Agreement.
     property           30307 Fulton County                                 Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X                                                                                  X
       Earl E. Cloud, III                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        March 18, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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                                                                         Document     Page 76 of 91
 Fill in this information to identify your case:

 Debtor 1                   Earl E. Cloud, III
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           18-71768
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             725,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              93,582.20

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             818,582.20

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             982,713.94

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             104,626.63

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          3,308,249.99


                                                                                                                                     Your total liabilities $             4,395,590.56


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              11,229.44

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              10,965.38

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Earl E. Cloud, III                                                         Case number (if known) 18-71768

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            104,626.63

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            104,626.63




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
 In re      Earl E. Cloud, III                                                                       Case No.   18-71768
                                                                                     Debtor(s)       Chapter    7




                                VERIFICATION OF CREDITOR MATRIX - AMENDED


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: March 18, 2019
                                                                         Earl E. Cloud, III
                                                                         Signature of Debtor




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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Earl E. Cloud, III
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

                                                    Northern District of Georgia - Atlanta                 2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Division                                                   applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           18-71768                                                                            3. The Means Test does not apply now because of
 (if known)                                                                                                    qualified military service but it could apply later.

                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
     Gross receipts (before all deductions)                   $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                       Copy here -> $                            $
  6. Net income from rental and other real property
                                                                                   Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $              Copy here -> $                            $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Earl E. Cloud, III                                                                     Case number (if known)   18-71768


                                                                                                 Column A                     Column B
                                                                                                 Debtor 1                     Debtor 2 or
                                                                                                                              non-filing spouse
  8. Unemployment compensation                                                           $                                    $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                     $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                   $                            $
                                                                                                 $                            $
                  Total amounts from separate pages, if any.                                  + $                             $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                       +$                      =$

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:         Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $


              Multiply by 12 (the number of months in a year)                                                                                   x 12
       12b. The result is your annual income for this part of the form                                                              12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                       13.    $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:         Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X
                 Earl E. Cloud, III
                 Signature of Debtor 1
        Date March 18, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                 page 2
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 Fill in this information to identify your case:

 Debtor 1            Earl E. Cloud, III

 Debtor 2
 (Spouse, if filing)

                                                    Northern District of Georgia - Atlanta
 United States Bankruptcy Court for the:            Division
                                                                                                  Check if this is an amended filing
 Case number         18-71768
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                         file this bankruptcy case.                                            you may have to file an amended form later.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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                         1st Global Capital LLC
                         1250 East Hallandale Beach Bl.
                         Ste 409
                         Hallandale, FL 33009



                         513 Capital
                         3511 La Rochelle Drive
                         Columbus, OH 43221



                         A. Christian Wilson
                         Simpson Uchitel & Wilson LLP
                         3490 Piedmont Rd NE Ste. 1100
                         Atlanta, GA 30305



                         Access to Capital for
                         Entrepreneurs, Inc.
                         3173 Highway 129 N
                         Cleveland, GA 30528-2715



                         Ace Loan
                         3173 Hwy 129 North
                         Cleveland, GA 30528



                         Acuity CFO, LLC
                         3423 Piemont Road NE
                         Atlanta, GA 30305



                         Advanced Color Imaging
                         5300 Oakbrook Parkway
                         Ste. 340
                         Norcross, GA 30093



                         All State Mall Services
                         PO Box 93717
                         Las Vegas, NV 89193
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                     Alliance Funding Group
                     3745 W. Chapman Ave
                     Ste 200
                     Orange, CA 92868



                     American Express
                     PO Box 1270
                     Newark, NJ 07101



                     American Express
                     PO Box 650448
                     Dallas, TX 75265-0448



                     Ameripride
                     1081 Experiment Stn Rd
                     Watkinsville, GA 30677



                     Amur Equipment Finance, Inc.
                     c/o Rachelson & White
                     3350 Riverwood Pkwy Ste 2110
                     Atlanta, GA 30339



                     Barclays Bank Delaware
                     PO Box 8803
                     Wilmington, DE 19899



                     BFS Capital
                     3301 N. University Drive
                     Ste. 300
                     Pompano Beach, FL 33065



                     Bizfund, LLC
                     762 N. Orange Street
                     Ste.762
                     Wilmington, DE 19801



                     BMI
                     PO Box 630893
                     Watkinsville, GA 30677
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                     Buckhead Beef
                     4500 Wickersham Dr
                     Atlanta, GA 30330



                     Chase Card
                     PO Box 15298
                     Wilmington, DE 19850



                     Cofactor LLC
                     2711 Centerville Ste 400
                     Wilmington, DE 19808



                     Corporation Service Company
                     801 Adlai Stevenson Dr
                     Apopka, FL 32703



                     Corporation Service Company
                     as Representative
                     PO Box 2576
                     Springfield, IL 62708



                     Credibility Capital
                     419 Park Ave South
                     8th Floor
                     New York, NY 10016



                     CTI
                     942 Enterprise Ste B
                     Sacramento, CA 95825-1000



                     DAU Group Investments, LLC
                     2630 Talley Street
                     Unit 403
                     Decatur, GA 30030



                     Deep End, LLC
                     24 Leslie Street
                     Atlanta, GA 30307
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                     East Andrews Realty, LLC
                     Glenridge Highlands One Ste800
                     555 Glenridge Connector
                     Atlanta, GA 30342



                     Fireplay
                     Attn: Brian Buckner
                     5915 Silver Springs, Bldg 6B
                     El Paso, TX 79912



                     Fundation Group, LLC
                     11501 Sunset Street NE
                     Atlanta, GA 30307



                     Georgia Department of Revenue
                     Attn: Ronald Johnson, Jr.
                     PO Box 105499
                     Atlanta, GA 30348



                     Georgia Dept of Revenue
                     1800 Century Center Blvd
                     Ste 9100
                     Atlanta, GA 30345



                     Georgia Power
                     241 Ralph McGill Blvd NE
                     Atlanta, GA 30308



                     Global Financial and Leasing
                     Services, 6263 N Scottsdale
                     Ste 222
                     Scottsdale, AZ 85250



                     GTR   Source
                     111   John Street
                     Ste   1210
                     New   York, NY 10038
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                     HAWAJE
                     S Concourse Pkwy
                     Ste 1000
                     Atlanta, GA 30328



                     Henry Inc.
                     Attn: Diane Henry
                     2285 Park Central Blvd
                     Decatur, GA 30035



                     IberiaBank
                     PO Box 12440
                     New Iberia, LA 70562



                     Jamestown PCM Master Tenant LP
                     Ponce City Market
                     675 Ponce De Leon Ave NE
                     Atlanta, GA 30308



                     Julian Goglia
                     1060 Tilden Street NE
                     Atlanta, GA 30318



                     Leon S. Jones
                     Jones & Walden, LLC
                     21 Eighth Street, NE
                     Atlanta, GA 30309



                     Mike Blydenstein
                     215 Mitchell Street
                     #9
                     Atlanta, GA 30303



                     Nationstar Mortgage LLC
                     350 Highland
                     Houston, TX 77067
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                     Navitas Credit Corp
                     One Post Office Square
                     Ste. 3710
                     Boston, MA 02109



                     Navitas Credit Corp
                     Attn: Charlie Butler
                     111 Executive Ctr Dr, Ste. 102
                     Columbia, SC 29210



                     Next Wavv Consulting, LLC
                     24 Leslie Street, NE
                     Atlanta, GA 30307



                     NFS Leasing
                     900 Commings Center
                     Ste 226-U
                     Beverly, MA 01915



                     Nordstrom TD Bank USA
                     13531 E. Caley Ave.
                     Englewood, CO 80111



                     On Deck Capital
                     155 E 56th Street
                     New York, NY 10022



                     One Point
                     PO Box 1849
                     Woodstock, GA 30188



                     Paladin Hospitality, LLC
                     dba The Pinewood
                     254 W. Ponce de Leon Ave.
                     Decatur, GA 30030
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                     Pawnee Leasing Corp
                     c/o Aldridge Pite Haan LLP
                     PO Box 52815
                     Atlanta, GA 30355-0815



                     Paycor
                     3525 Piedmont Rd NE
                     5 Piedmont Ctr Ste 520
                     Atlanta, GA 30305



                     PBS Capital
                     One Evertrust Plaza
                     Ste 1401
                     Jersey City, NJ 07302



                     People's United Bank
                     One Post Office Square
                     Ste. 3710
                     Boston, MA 02109



                     Rohrig Investments, LP
                     340 East Paces Ferry
                     Atlanta, GA 30305



                     S. Nataniel De Veaux
                     Kitchens Kelley Gynes PC
                     5555 Glenridge Conn Ste 800
                     Atlanta, GA 30342



                     Sard & Leff, LLC
                     3789 Roswell Rd NE
                     Atlanta, GA 30342



                     Seacoast National Bank
                     Ruma Mazumdar, Fox Rothschild
                     101 Park Ave Ste 1700
                     New York, NY 10178
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                     Southeastern Hospitality, LLC
                     dba The Mercury
                     675 Ponce De Leon Ave, Ste 215
                     Atlanta, GA 30308



                     Southern Dairies
                     Attn: Kari Marschark
                     621 North Avenue NE Ste C140
                     Atlanta, GA 30308



                     Spagett, LLC dba Bar Americano
                     24 Leslie Street NW
                     Atlanta, GA 30307



                     Technology Insurance Company
                     8948 Canyon Falls Blvd
                     Ste 200
                     Twinsburg, OH 44087



                     Touchmark National Bank
                     3651 Old Milton Pkwy
                     Alpharetta, GA 30005



                     Trimark Strategic Equipment
                     6684 Jimmy Carter Blvd. Ste. 2
                     Peachtree Corners
                     Norcross, GA 30071



                     Vend Lease
                     8100 Sandpiper Circle
                     Ste. 300
                     Nottingham, MD 21236



                     VW Credit
                     2333 Waukegan Road
                     Deerfield, IL 60015
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                     Wells Fargo Home Mortgage
                     PO Box 10335
                     Des Moines, IA 50306



                     World Global Capital, LLC
                     187 Wolf Road
                     Ste. 101
                     Albany, NY 12205
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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
 In re      Earl E. Cloud, III                                                                            Case No.   18-71768
                                                                                     Debtor(s)            Chapter    7




                                                      AMENDED
                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing Statement of Financial Affairs, Schedule
            A/B, Schedule C, Schedule D Schedule E/F, Schedule G, Schedule H, Schedule I, Schedule J, Statement of Intent,
            Summary of Assets and Liabilities, Form 122A,
            Creditor Matrix, consisting of 89 page(s), and that they are true and correct to the best of my knowledge,
            information, and belief.




 Date March 18, 2019                                                     Signature
                                                                                     Earl E. Cloud, III
                                                                                     Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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